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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



AMRO HEGAB, individually and on behalf of all          Civil Action No. 11-cv-01206 (CCC)(JAD)
other persons similarly situated,

                       Plaintiff,
                                                       ELECTRONICALLY FILED
v.

FAMILY DOLLAR STORES, INC.,

                       Defendant.



                              DECLARATION OF SETH R. LESSER

        1.      I am a partner in Klafter Olsen & Lesser LLP and I, with co-counsel, represent the

 Plaintiffs and the Class as putative Settlement Class Counsel. I am fully familiar with the facts

 and circumstances set forth herein, and I make this Declaration in support of the parties’ Joint

 Motion for Preliminary Approval of Settlement Agreement, as well as for the sending of notice

 and the scheduling of a Final Approval Hearing.

        2.      Plaintiff worked as a store manager (“SM”) for Family Dollar in New Jersey. In

 March 2011, he filed the instant action alleging that defendant misclassified its store managers in

 New Jersey as exempt from state overtime requirements and seeking unpaid overtime

 compensation on behalf of himself and all salaried store managers employed at Family Dollar

 stores in New Jersey at any time since March 3, 2009, the beginning of the limitations period.

        3.      In June 2012, this action was stayed upon request of the parties to provide an

 opportunity to mediate. This mediation initially was scheduled in conjunction with mediation in

 the parallel New York actions, Youngblood, et. al. v. Family Dollar Stores, Inc. et al., No. 09-cv-

 3176, and Rancharan v. Family Dollar Stores, Inc., No. 10-cv-7580. These consolidated federal
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 actions were brought under New York Labor Law and involved similar claims to the claims here:

 that store managers in New York were misclassified as exempt under New York law. By the time

 of the mediation, Rancharan and Youngblood involved extensive discovery, including the

 exchange of 200,000 pages of materials and 31 depositions and significant briefing of the class

 certification issue. The suits were on a trial-ready track at the time that extensive settlement

 negotiations were undertaken, negotiations that spanned months and multiple mediation and

 negotiation sessions.

        4.      On June 7, 2013, the district court approved settlement of these actions in New

 York. Youngblood v. Family Dollar Stores, Inc., 09-cv-3176 (S.D.N.Y.) (ECF. No. 162) (Exhibit

 A attached hereto). As a result of these actions, counsel – on both sides of the case –became

 intimately familiar with their respective claims and defenses. This information, along with

 information obtained in the instant litigation, provided the parties with significant evidence of the

 manner in which Family Dollar operates its retail stores in New Jersey, actual job duties that

 store managers perform, and the opportunity to evaluate the strength of the claims if this action

 proceeded to trial. Following the final approval of the settlement in Youngblood/Rancharan, the

 negotiation efforts in this action became more serious and ultimately led to the settlement now

 being proposed.

        5.      In addition to the work undertaken in Youngblood/Rancharan, the parties here,

 before the stay was entered, engaged in discovery; Family Dollar took the deposition of plaintiff

 and both parties served and responded to written discovery requests and produced thousands of

 pages of materials including, among many other things, job descriptions, personnel files,

 company policies, store schematics, corporate email correspondence, and pay records.




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        6.       The parties had discussions over discovery issues and various motions were being

 considered by both sides at the time the stay was entered. Counsel for both parties also spent

 considerable time investigating the claims. Family Dollar interviewed numerous store managers

 and reviewed documents at New Jersey stores, while plaintiff’s counsel interviewed putative

 class members to determine the nature of their daily activities and other information relevant to

 their claims.

        7.       The parties prepared for mediation after the June 2012 order staying this action

 (ECF No. 47), but ultimately decided not to pursue mediation until clarity was reached as to the

 Rancharan/Youngblood litigation. Accordingly, upon final approval of the settlement in that

 litigation, settlement discussions in this lawsuit commenced anew, leading to a meeting in North

 Carolina on January 14, 2014 at which counsel reached an agreement in principle. The parties

 then negotiated the final settlement agreement, which is now being presented for preliminary

 approval.

        8.       In summary, the discovery, investigations, and settlement negotiations in the

 instant action and the parties’ experience in Youngblood and Rancharan place the parties in a

 favorable position to evaluate the merits of their claims and defenses. Plaintiffs’ Counsel are

 uniquely informed of the issues since they have taken or defended 32 depositions in this or the

 New York actions, reviewed hundreds of thousands of pages of documents, and spoken to

 hundreds of SMs, providing them with substantial insight into the strengths and weaknesses of

 their claims. As Class Counsel, I can unequivocally state – and believe this cannot be gainsaid –

 that the proposed settlement is the product of two fully informed sides negotiating intensely at

 arm’s length. The parties believe that the settlement offers a fair and reasonable resolution of the

 litigation and incorporates and recognizes the substantial risks each side faced, whether at trial or



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 upon appeals, had the litigation continued. By the time the parties agreed to discuss settlement,

 there can be no question whatsoever that both sides were well versed in the facts, circumstances,

 and law applicable to the disputed issues and had a comprehensive knowledge of what a

 potential trial record would look like.

           9.    Based on my firm’s experience in similar matters, this settlement will provide

 substantial benefit to the class members. For example, and in addition to the parallel New York

 cases in which my co-counsel here were also co-counsel, my firm has in recent years

 successfully litigated to conclusion over two dozen FLSA/state wage and hour cases and

 settlements that, to date, constitute millions of dollars in value. This includes Stillman v. Staples,

 Inc., 07-cv-849 (D.N.J.), a FLSA wage and hour case that was successfully tried to a jury verdict

 on behalf of 342 opt-in plaintiffs and which case is one of the rare FLSA misclassification cases

 that has been successfully tried to a jury verdict. Ultimately, Staples resulted in an omnibus

 settlement totaling $42 million, In re Staples Wage & Hour Litig., MDL No. 2025 (D.N.J.) (final

 approval obtained November 3, 2011; my firm was the agreed-upon lead counsel). More

 recently, my firm successfully took a FLSA collective action to verdict in an arbitration

 proceeding (details are confidential pursuant to the terms of the arbitral tribunal). These

 experiences permitted Plaintiffs’ counsel to evaluate the risks of a trial and negotiate fair

 settlement terms for the class members. A copy of my firm’s resume is attached as Exhibit E

 hereto.

           10.   Similarly, Hepworth, Gershbaum and Roth, PLLC (who were, as noted, co-

 counsel in Youngblood/Rancharan) has in recent years successfully litigated over a dozen

 FLSA/state wage and hour actions and reached settlements that, to date, total millions of dollars

 in value. A copy of this firm’s resume is attached as Exhibit F hereto.



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        11.     Likewise, Lite DePalma Greenberg, LLC is also experienced in complex and

 class and collective action lawsuits, including having worked on wage and hour cases, and also

 were co-counsel in Youngblood/Rancharan. A copy of this firm’s resume is attached as Exhibit

 G hereto.

        12.     Attached as Exhibit B hereto is the parties’ Settlement Agreement.

        13.     Attached as Exhibit C hereto is parties’ proposed Notice of Settlement of Class

 Action Lawsuit.

        14.     Attached as Exhibit D hereto is the parties proposed Claim Form.



 I declare under penalty of perjury under the laws of the United States that the foregoing is true

 and corrected. Executed on this 6th day of June 2014, in Rye Brook, New York.




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